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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

 MARY E. GURULE,

               Plaintiff,
 vs.

                                                            No. 1:20-cv-01045-KWR-GBW
 KILOLO KIJAKAZI,
 Acting Commissioner of the
 Social Security Administration,

               Defendant.

                                    FINAL ORDER

        PURSUANT to the Order Granting Defendant’s Unopposed Motion to Remand

(Doc. 31) entered October 13, 2021, the Court enters this Final Order, under Fed. R. Civ.

P. 58, GRANTING Defendant’s Unopposed Motion to Reverse and Remand for Further

Administrative Proceedings Pursuant to Sentence Four of 42 U.S.C. § 405(g) (doc. 30),

REVERSING the Commissioner’s decision under sentence four of 42 U.S.C. § 405(g),

and REMANDING this case to the Commissioner of the Social Security Administration

for further proceedings.

        IT IS SO ORDERED.


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                                               KEA W. RIGGS
                                               UNITED STATES DISTRICT JUDGE
